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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION
                                  www.flmb.uscourts.gov
In re:
CFRA HOLDINGS, LLC                                            Case No. 8:20-bk-03608-CPM
                                                              Chapter 11

                                                              Jointly Administered with:
CFRA, LLC                                                     Case No. 8:20-bk-03609-CPM
CFRA TRI-CITIES, LLC                                          Case No. 8:20-bk-03610-CPM

      Debtors.
______________________________________/

                                           REPORT OF SALE

       The debtors and debtors-in-possession in the above-captioned cases (the “Debtors”), by

and through their undersigned counsel, hereby provide the following report pursuant to Federal

Rule of Bankruptcy Procedure 6004(f)(1):

       1.      On July 10, 2020, the Court entered an Order (A) Approving the Sale of

Substantially All of the Debtors’ Assets, (B) Authorizing the Sale Free and Clear of all

Encumbrances, and (C) Authorizing Assumption and Assignment of Executory Contracts and

Unexpired Leases [Dkt. No. 197] (the “Sale Order”).1 As set forth in the Sale Order, the Court

authorized the Debtors to sell substantially all of their assets (the “Sale”) to Suncakes, LLC for

$4,050,000.

       2.      Closing on the Sale occurred on July 14, 2020.

       3.      Pursuant to the Sale Order, the Debtors disbursed the sale proceeds as follows:

              a. $202,500 to Gordon Brothers for its commission (held in escrow pending
                 approval of Gordon Brothers’ fee application);

              b. $1,394,000 to IHOP for cure payments;

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       Capitalized terms not otherwise defined herein have the meanings set forth in the Sale Order.
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            c. $810,403.31 to the Lenders for repayment of the Debtors’ post-petition
               financing;

            d. $22,500 to Etheridge Roofing for release of mechanic’s lien on Store No. 585);

            e. $21,000 to Etheridge Roofing for release of mechanic’s lien on Store No. 2027
               (held in escrow pending designation of lease by Purchaser);

            f. $40,475 to Smartvision for release of mechanic’s lien on Store No. 585;

            g. $36,012.50 to Smartvision for release of mechanic’s lien on Store No. 2027
               (held in escrow pending designation of lease by Purchaser);

            h. $92,350 to Smartvision for release of mechanic’s lien on Store No. 4440;

            i. $756,000 to IHOP per paragraph 4(e) of Addendum A to the Bidding
               Procedures Order;

            j. $125,000 to the Debtors’ estates for the GUC Carve-Out; and

            k. $549,759.19 to the Lenders for partial repayment of the Debtors’ prepetition
               secured financing.


Dated: July 20, 2020                      SAUL EWING ARNSTEIN & LEHR LLP
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                                          By:     /s/ Aaron S. Applebaum_________
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                                                  -and-

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